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 7
 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Brian Whitaker,                           Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     J Peterson Property, LLC, a               Act; Unruh Civil Rights Act
       California Limited Liability
15     Company;
       Peterson Enterprises, LLC, a
16     California Limited Liability
       Company; and Does 1-10,
17
                 Defendants.
18
19
           Plaintiff Brian Whitaker complains of J Peterson Property, LLC, a
20
     California Limited Liability Company; Peterson Enterprises, LLC, a California
21
     Limited Liability Company; and Does 1-10 (“Defendants”), and alleges as
22   follows:
23
24
       PARTIES:
25     1. Plaintiff is a California resident with physical disabilities. He is
26
     substantially limited in his ability to walk. He suffers from a C-4 spinal cord
27
     injury. He is a quadriplegic. He uses a wheelchair for mobility.
28     2. Defendant J Peterson Property, LLC owned the real property located at


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 1   or about 27400 Pacific Coast Hwy, Malibu, California, in July 2020.
 2     3. Defendant J Peterson Property, LLC owns the real property located at or
 3   about 27400 Pacific Coast Hwy, Malibu, California, currently.
 4     4. Defendant Peterson Enterprises, LLC owned Geoffrey’s located at or
 5   about 27400 Pacific Coast Hwy, Malibu, California, in July 2020.
 6     5. Defendant Peterson Enterprises, LLC owns Geoffrey’s (“Restaurant”)
 7   located at or about 27400 Pacific Coast Hwy, Malibu, California, currently.
 8     6. Plaintiff does not know the true names of Defendants, their business
 9   capacities, their ownership connection to the property and business, or their
10   relative responsibilities in causing the access violations herein complained of,
11   and alleges a joint venture and common enterprise by all such Defendants.
12   Plaintiff is informed and believes that each of the Defendants herein,
13   including Does 1 through 10, inclusive, is responsible in some capacity for the
14   events herein alleged, or is a necessary party for obtaining appropriate relief.
15   Plaintiff will seek leave to amend when the true names, capacities,
16   connections, and responsibilities of the Defendants and Does 1 through 10,
17   inclusive, are ascertained.
18
19     JURISDICTION & VENUE:
20     7. The Court has subject matter jurisdiction over the action pursuant to 28
21   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
22   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
23     8. Pursuant to supplemental jurisdiction, an attendant and related cause
24   of action, arising from the same nucleus of operative facts and arising out of
25   the same transactions, is also brought under California’s Unruh Civil Rights
26   Act, which act expressly incorporates the Americans with Disabilities Act.
27     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
28   founded on the fact that the real property which is the subject of this action is


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 1   located in this district and that Plaintiff's cause of action arose in this district.
 2
 3     FACTUAL ALLEGATIONS:
 4     10. Plaintiff went to the Restaurant in July 2020 with the intention to avail
 5   himself of its goods and to assess the business for compliance with the
 6   disability access laws.
 7     11. The Restaurant is a facility open to the public, a place of public
 8   accommodation, and a business establishment.
 9     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
10   to provide wheelchair accessible dining surfaces in conformance with the ADA
11   Standards as it relates to wheelchair users like the plaintiff.
12     13. The Restaurant provides dining surfaces to its customers but fails to
13   provide any wheelchair accessible dining surfaces.
14     14. One problem that plaintiff encountered is the lack of sufficient knee or
15   toe clearance under the dining surfaces for wheelchair users.
16     15. Plaintiff believes that there are other features of the dining surfaces that
17   likely fail to comply with the ADA Standards and seeks to have fully compliant
18   dining surfaces for wheelchair users.
19     16. On information and belief, the defendants currently fail to provide
20   wheelchair accessible dining surfaces.
21     17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
22   provide wheelchair accessible restrooms in conformance with the ADA
23   Standards as it relates to wheelchair users like the plaintiff.
24     18. The Restaurant provides restrooms to its customers but fails to provide
25   any wheelchair accessible restrooms.
26     19. One problem that plaintiff encountered is that the plumbing
27   underneath the sink was not properly wrapped.
28     20. Plaintiff believes that there are other features of the restrooms that


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 1   likely fail to comply with the ADA Standards and seeks to have fully compliant
 2   restrooms for wheelchair users.
 3     21. On information and belief, the defendants currently fail to provide
 4   wheelchair accessible restrooms.
 5     22. Moreover, on the date of the plaintiff’s visit, the defendants failed to
 6   provide wheelchair accessible parking in conformance with the ADA
 7   Standards as it relates to wheelchair users like the plaintiff.
 8     23. The Restaurant provides parking to its customers but fails to provide any
 9   wheelchair accessible parking.
10     24. A couple of problems that plaintiff encountered is that the valet used the
11   parking stall marked and reserved for persons with disabilities to park
12   customer cars. What is more, there were not enough parking spaces for
13   wheelchair users in the parking lot. Additionally, there was no designated pull-
14   up space in the parking lot.
15     25. Plaintiff believes that there are other features of the parking that likely
16   fail to comply with the ADA Standards and seeks to have fully compliant
17   parking for wheelchair users.
18     26. On information and belief, the defendants currently fail to provide
19   wheelchair accessible parking.
20     27. These barriers relate to and impact the plaintiff’s disability. Plaintiff
21   personally encountered these barriers.
22     28. As a wheelchair user, the plaintiff benefits from and is entitled to use
23   wheelchair accessible facilities. By failing to provide accessible facilities, the
24   defendants denied the plaintiff full and equal access.
25     29. The failure to provide accessible facilities created difficulty and
26   discomfort for the Plaintiff.
27     30. The defendants have failed to maintain in working and useable
28   conditions those features required to provide ready access to persons with


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 1   disabilities.
 2     31. The barriers identified above are easily removed without much
 3   difficulty or expense. They are the types of barriers identified by the
 4   Department of Justice as presumably readily achievable to remove and, in fact,
 5   these barriers are readily achievable to remove. Moreover, there are numerous
 6   alternative accommodations that could be made to provide a greater level of
 7   access if complete removal were not achievable.
 8     32. Plaintiff will return to the Restaurant to avail himself of its goods and to
 9   determine compliance with the disability access laws once it is represented to
10   him that the Restaurant and its facilities are accessible. Plaintiff is currently
11   deterred from doing so because of his knowledge of the existing barriers and
12   his uncertainty about the existence of yet other barriers on the site. If the
13   barriers are not removed, the plaintiff will face unlawful and discriminatory
14   barriers again.
15     33. Given the obvious and blatant nature of the barriers and violations
16   alleged herein, the plaintiff alleges, on information and belief, that there are
17   other violations and barriers on the site that relate to his disability. Plaintiff will
18   amend the complaint, to provide proper notice regarding the scope of this
19   lawsuit, once he conducts a site inspection. However, please be on notice that
20   the plaintiff seeks to have all barriers related to his disability remedied. See
21   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
22   encounters one barrier at a site, he can sue to have all barriers that relate to his
23   disability removed regardless of whether he personally encountered them).
24
25   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
26   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
27   Defendants.) (42 U.S.C. section 12101, et seq.)
28     34. Plaintiff re-pleads and incorporates by reference, as if fully set forth


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 1   again herein, the allegations contained in all prior paragraphs of this
 2   complaint.
 3     35. Under the ADA, it is an act of discrimination to fail to ensure that the
 4   privileges, advantages, accommodations, facilities, goods and services of any
 5   place of public accommodation is offered on a full and equal basis by anyone
 6   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 7   § 12182(a). Discrimination is defined, inter alia, as follows:
 8            a. A failure to make reasonable modifications in policies, practices,
 9                or procedures, when such modifications are necessary to afford
10                goods,    services,    facilities,   privileges,    advantages,   or
11                accommodations to individuals with disabilities, unless the
12                accommodation would work a fundamental alteration of those
13                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
14            b. A failure to remove architectural barriers where such removal is
15                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
16                defined by reference to the ADA Standards.
17            c. A failure to make alterations in such a manner that, to the
18                maximum extent feasible, the altered portions of the facility are
19                readily accessible to and usable by individuals with disabilities,
20                including individuals who use wheelchairs or to ensure that, to the
21                maximum extent feasible, the path of travel to the altered area and
22                the bathrooms, telephones, and drinking fountains serving the
23                altered area, are readily accessible to and usable by individuals
24                with disabilities. 42 U.S.C. § 12183(a)(2).
25     36. When a business provides facilities such as dining surfaces, it must
26   provide accessible dining surfaces.
27     37. Here, accessible dining surfaces have not been provided in
28   conformance with the ADA Standards.


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 1     38. When a business provides facilities such as restrooms, it must provide
 2   accessible restrooms.
 3     39. Here, accessible restrooms have not been provided in conformance with
 4   the ADA Standards.
 5     40. When a business provides parking for its customers, it must provide
 6   accessible parking.
 7     41. Here, accessible parking has not been provided in conformance with the
 8   ADA Standards.
 9     42. The Safe Harbor provisions of the 2010 Standards are not applicable
10   here because the conditions challenged in this lawsuit do not comply with the
11   1991 Standards.
12     43. A public accommodation must maintain in operable working condition
13   those features of its facilities and equipment that are required to be readily
14   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
15     44. Here, the failure to ensure that the accessible facilities were available
16   and ready to be used by the plaintiff is a violation of the law.
17
18   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
19   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
20   Code § 51-53.)
21     45. Plaintiff repleads and incorporates by reference, as if fully set forth
22   again herein, the allegations contained in all prior paragraphs of this
23   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
24   that persons with disabilities are entitled to full and equal accommodations,
25   advantages, facilities, privileges, or services in all business establishment of
26   every kind whatsoever within the jurisdiction of the State of California. Cal.
27   Civ. Code §51(b).
28     46. The Unruh Act provides that a violation of the ADA is a violation of the


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 1   Unruh Act. Cal. Civ. Code, § 51(f).
 2      47. Defendants’ acts and omissions, as herein alleged, have violated the
 3   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 4   rights to full and equal use of the accommodations, advantages, facilities,
 5   privileges, or services offered.
 6      48. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 7   discomfort or embarrassment for the plaintiff, the defendants are also each
 8   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 9   (c).)
10
11             PRAYER:
12             Wherefore, Plaintiff prays that this Court award damages and provide
13   relief as follows:
14           1. For injunctive relief, compelling Defendants to comply with the
15   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
16   plaintiff is not invoking section 55 of the California Civil Code and is not
17   seeking injunctive relief under the Disabled Persons Act at all.
18           2. Damages under the Unruh Civil Rights Act, which provides for actual
19   damages and a statutory minimum of $4,000 for each offense.
20           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
21   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
22
     Dated: August 24, 2020               CENTER FOR DISABILITY ACCESS
23
24
                                          By:
25
26                                        ________________________
27                                               Russell Handy, Esq.
                                                 Attorney for plaintiff
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